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 14                      UNITED STATES DISTRICT COURT

 15                    CENTRAL DISTRICT OF CALIFORNIA

 16   ROSALINA DRAYTON, an
      individual,                              Case No.:
 17
                        Plaintiff,
 18                                            COMPLAINT AND DEMAND FOR
      v.                                       JURY TRIAL
 19
 20   INSTANT BRANDS, INC., a                  1. Strict Products Liability
      Canadian Corporation,
 21                                            2. Negligent Products Liability
                         Defendant.
 22                                            3. Breach of Express Warranty
 23                                            4. Breach of Implied Warranty of
 24                                               Merchantability

 25                                            5. Breach of Implied Warranty of
                                                  Fitness for a Particular Purpose
 26
 27
 28

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                       COMPLAINT AND DEMAND FOR JURY TRIAL
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  1          Plaintiff, ROSALINA DRAYTON (hereafter referred to as “Plaintiff”), by and
  2 through her undersigned counsel, JOHNSON BECKER, PLLC and HARLAN LAW,

  3 P.C., hereby submits the following Complaint and Demand for Jury Trial against
  4 Defendant INSTANT BRANDS, INC. (hereafter referred to as “Defendant Instant
  5 Brands“ or “Defendant”) alleges the following upon personal knowledge and belief, and
  6 investigation of counsel:
  7                                       NATURE OF THE CASE

  8          1.      Defendant Instant Brands designs, manufactures, markets, imports,
  9 distributes and sells a wide-range of consumer kitchen products, including the subject
 10 “Instant Pot Programmable Electric Pressure Cooker,” which specifically includes the
 11 Model Number IP-DUO60 (referred to hereafter as “pressure cooker(s)”) that is at issue
 12 in this case.
 13          2.      Defendant touts the “safety”1 of its pressure cookers, and states that they
 14 cannot be opened while in use. Despite Defendant’s claims of “safety,” it designed,
 15 manufactured, marketed, imported, distributed and sold, both directly and through
 16 third-party retailers, a product that suffers from serious and dangerous defects. Said
 17 defects cause significant risk of bodily harm and injury to its consumers.
 18          3.      Specifically, said defects manifest themselves when, despite Defendant’s
 19 statements, the lid of the pressure cooker is removable with built-up pressure, heat
 20 and steam still inside the unit. When the lid is removed under such circumstances, the
 21 pressure trapped within the unit causes the scalding hot contents to be projected from
 22 the unit and into the surrounding area, including onto the unsuspecting consumers,
 23 its families and other bystanders. The Plaintiff in this case was able to remove the lid
 24 while the pressure cooker retained pressure, causing her serious and substantial

 25 bodily injuries and damages.
 26
 27
 28   1See, e.g. Instant Pot IP-DUO60/80 Owner’s manual, pgs. 4, 5 8. A copy of the Owner’s manual is
      attached hereto as “Exhibit A”.

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  1              4.       Defendant knew or should have known of these defects, but has
  2 nevertheless put profit ahead of safety by continuing to sell its pressure cookers to

  3 consumers, failing to warn said consumers of the serious risks posed by the defects,
  4 and failing to recall the dangerously defective pressure cookers regardless of the risk
  5 of significant injuries to Plaintiff and consumers like her.
  6              5.       Defendant ignored and/or concealed its knowledge of these defects in its
  7 pressure cookers from the Plaintiff in this case, as well as the public in general, in
  8 order to continue generating a profit from the sale of said pressure cookers.
  9              6.       As a direct and proximate result of Defendant’s conduct, the Plaintiff in
 10 this case incurred significant and painful bodily injuries, medical expenses, lost wages,
 11 physical pain, mental anguish, and diminished enjoyment of life.
 12                                 PLAINTIFF ROSALINA DRAYTON
 13              7.       Plaintiff is a resident and citizen of the city of Los Angeles, County of Los
 14 Angeles, State of California.
 15              8.       On or about March 12, 2020 Plaintiff suffered serious and substantial
 16 burn injuries as the direct and proximate result of the pressure cooker’s lid being able
 17 to be rotated and opened while the pressure cooker was still under pressure, during
 18 the normal, directed use of the Pressure Cooker, allowing its scalding hot contents to
 19 be forcefully ejected from the pressure cooker and onto Plaintiff. The incident occurred
 20 as a result of the failure of the pressure cooker’s supposed “safety mechanisms,”2 which
 21 purport to keep the consumer safe while using the pressure cooker. In addition, the
 22 incident occurred as the result of Defendant’s failure to redesign the pressure cooker,
 23 despite the existence of economical, safer alternative designs.
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      2   Id. at pg. 5.

                                                        3
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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  1                              DEFENDANT INSTANT BRANDS, INC.
  2             9.      Defendant designs, manufactures, markets, imports, distributes and sell

  3 a variety of consumer kitchen products including pressure cookers, air fryers, and
  4 blenders, amongst others.
  5             10.     Defendant boasts that “[t]he Instant Pot line of products are truly tools
  6 for a new lifestyle and especially cater to the needs of health-minded individuals”3 with
  7 its “main goal” to provide “best kitchen experience by offering unsurpassed user
  8 interface design and connected technologies.”4
  9             11.     Defendant Instant Brands is a Canadian corporation with is principal
 10 place of business at 495 March Road, Suite 200, Kanata, ON, Canada K2K 3G1, and
 11 as such is deemed to be a citizen of the Country of Canada.
 12                                       JURISDICTION AND VENUE

 13             12.     This Court has subject matter jurisdiction over this case pursuant to
 14 diversity jurisdiction prescribed by 28 U.S.C. § 1332 because the matter in controversy
 15 exceeds the sum or value of $75,000, exclusive of interest and costs, and there is
 16 complete diversity between the parties.
 17             13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 all or a
 18 substantial part of the events or omissions giving rise to this claim occurred in this
 19 district.
 20             14.     Venue is also proper in this Court pursuant to 28 U.S.C. § 1391 because
 21 Defendant has sufficient minimum contacts with the State of California and has
 22 intentionally availed itself of the markets within California through the promotion,
 23 sale, marketing, and distribution of its products.
 24

 25
 26
 27
      3   See https://instantpot.com/about-instant-brands-inc-instant-pot/
 28
      4   Id.

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                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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  1                                     FACTUAL BACKGROUND
  2             15.      Defendant is engaged in the business of designing, manufacturing,

  3 warranting, marketing, importing, distributing and selling the pressure cooker at
  4 issue in this litigation.
  5             16.      Defendant aggressively warrants, markets, advertises and sells its
  6 pressure cookers as “Convenient, Dependable and Safe,”5 allowing consumers to cook
  7 “healthy, tasty dishes.”6
  8             17.      For instance, the Defendant claims that its pressure cookers include a
  9 “safety feature to disable the cooker” and display light that “flashes ‘Lid’ if the lid is
 10 not positioned correctly.” 7
 11             18.      To further propagate its message, Defendant has, and continues to utilize
 12 numerous media outlets including, but not limited to, infomercials, social media
 13 websites such as YouTube, and third-party retailers. For example, the following can
 14 be found on Defendant’s YouTube webpage entitled “Getting to Know Your New
 15 Instant Pot IP-DUO”:
 16                   a. “The first thing you need to know about your IP-DUO is that you don’t
 17                      need to be afraid of it, as many people are afraid of stovetop pressure
 18                      cookers.”8
 19                   b. “With 10 safety features built in, you can use your Instant Pot with
 20                      confidence, knowing that it is not going to explode.” 9
 21
 22
 23
 24

 25   5   See https://instantpot.com/portfolio-item/lux-6-quart/#tab-id-1
 26   6   Id.

 27   7   Instant Pot IP-LUX50/60 Owner’s manual, pg. 10,
      8   https://www.youtube.com/watch?v=w1RKj9E8TY0 (video with a runtime of 11:26) at 0:42 – 0:46
 28
      9   Id. at 0:47 – 0:55.

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  1                    c. “In addition, keep in mind that your Instant Pot operates at relatively low
  2                       pressures of 11 to 12 psi or lower, depending on the pressure setting that

  3                       you use.” 10
  4              19.      In a similar video entitled “Introducing Instant Pot IP-DUO series
  5 electric pressure cooker,” spokesperson Laura Pazzaglia, founder of the website “Hip
  6 Pressure Cooking”11 boasts of the pressure cookers “10 safety features,”12 stating that
  7 this “new model detects the position of the lid”13 and “ once the lid is locked, and the
  8 contents are under pressure, there’s no way to open the pressure cooker.”14
  9              20.      According to the Owner’s Manual accompanying each individual unit
 10 sold, the pressure cookers purport to be designed with “10 proven safety mechanisms
 11 and patented technologies,”15 misleading the consumer into believing that the pressure
 12 cookers are reasonably safe for its normal, intended use.
 13              21.      By reason of the forgoing acts or omissions, the above-named Plaintiff
 14 and/or her family purchased the pressure cooker with the reasonable expectation that
 15 it was properly designed and manufactured, free from defects of any kind, and that it
 16 was safe for its intended, foreseeable use of cooking.
 17              22.      Plaintiff used her pressure cooker for its intended purpose of preparing
 18 meals for herself and/or family and did so in a manner that was reasonable and
 19 foreseeable by the Defendant.
 20              23.      However, the aforementioned pressure cooker was defectively and
 21 negligently designed and manufactured by the Defendant in that it failed to properly
 22 function as to prevent the lid from being removed with normal force while the unit
 23
 24   10Id. 0:56 – 1:08. This apparently suggests that even if the lid is opened while the unit is still
      pressurized, it will not harm you.
 25
      11   See https://www.hippressurecooking.com/
 26   12   See https://www.youtube.com/watch?v=bVA2EqPf0s0 at 1:22 – 143.

 27   13   Id. at 2:26
      14   Id. at 6:40
 28
      15   See Instant Pot IP-DUO60/80 V2 Owner’s Manual, pg. 4.

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  1 remained pressurized, despite the appearance that all the pressure had been released,
  2 during the ordinary, foreseeable and proper use of cooking food with the product;

  3 placing the Plaintiff, her family, and similar consumers in danger while using the
  4 pressure cookers.
  5         24.   Defendant’s    pressure   cookers   possess   defects   that   make   them
  6 unreasonably dangerous for their intended use by consumers because the lid can be
  7 rotated and opened while the unit remains pressurized.
  8         25.   Further, Defendant’s representations about “safety” are not just
  9 misleading, they are flatly wrong, and put innocent consumers like Plaintiff directly
 10 in harm’s way.
 11         26.   Economic, safer alternative designs were available that could have
 12 prevented the Pressure Cooker’s lid from being rotated and opened while pressurized.
 13         27.   Defendant knew or should have known that its pressure cookers
 14 possessed defects that pose a serious safety risk to Plaintiff and the public.
 15 Nevertheless, Defendant continues to ignore and/or conceal its knowledge of the
 16 pressure cookers’ defects from the general public and continues to generate a
 17 substantial profit from the sale of its pressure cookers.
 18         28.   As a direct and proximate result of Defendant’s intentional concealment
 19 of such defects, its failure to warn consumers of such defects, its negligent
 20 misrepresentations, its failure to remove a product with such defects from the stream
 21 of commerce, and its negligent design of such products, Plaintiff used an unreasonably
 22 dangerous pressure cooker, which resulted in significant and painful bodily injuries
 23 upon Plaintiff’s simple removal of the lid of the Pressure Cooker.
 24         29.   Consequently, the Plaintiff in this case seeks compensatory damages

 25 resulting from the use of Defendant’s pressure cooker as described above, which has
 26 caused the Plaintiff to suffer from serious bodily injuries, medical expenses, lost wages,
 27 physical pain, mental anguish, diminished enjoyment of life, and other damages.
 28

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  1                                   FIRST CAUSE OF ACTION

  2                                 STRICT PRODUCTS LIABILITY

  3        PLAINTIFF, FOR A FIRST CAUSE OF ACTION AGANST INSTANT
  4 BRANDS, INC., ALLEGES AS FOLLOWS:
  5        30.      Plaintiff incorporates by reference each preceding and succeeding
  6 paragraph as though set forth fully at length herein.
  7        31.      At the time of Plaintiff’s injuries, Defendant’s pressure cookers were
  8 defective and unreasonably dangerous for use by foreseeable consumers, including
  9 Plaintiff.
 10        32.      Defendant’s pressure cookers were in the same or substantially similar
 11 condition as when they left the possession of the Defendant.
 12        33.      Plaintiff and her family did not misuse or materially alter the pressure
 13 cooker.
 14        34.      The pressure cookers did not perform as safely as an ordinary consumer
 15 would have expected them to perform when used in a reasonably foreseeable way.
 16        35.      Further, a reasonable person would conclude that the possibility and
 17 serious of harm outweighs the burden or cost of making the pressure cookers safe.
 18 Specifically:
 19              a. The pressure cookers designed, manufactured, sold, and supplied by
 20                 Defendant were defectively designed and placed into the stream of
 21                 commerce in a defective and unreasonably dangerous condition for
 22                 consumers;
 23              b. The seriousness of the potential burn injuries resulting from the product
 24                 drastically outweighs any benefit that could be derived from its normal,

 25                 intended use;
 26              c. Defendant failed to properly market, design, manufacture, distribute,
 27                 supply, and sell the pressure cookers, despite having extensive knowledge
 28                 that the aforementioned injuries could and did occur;

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
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  1
  2              d. Defendant failed to warn and place adequate warnings and instructions

  3                 on the pressure cookers;
  4              e. Defendant failed to adequately test the pressure cookers; and
  5              f. Defendant failed to market an economically feasible alternative design,
  6                 despite the existence of economical, safer alternatives, that could have
  7                 prevented the Plaintiff’ injuries and damages.
  8        36.      At the time of Plaintiff’s injuries, Defendants’ pressure cookers were
  9 defective and unreasonably dangerous for use by foreseeable consumers, including
 10 Plaintiff.
 11        37.      Defendant’s actions and omissions were the direct and proximate cause
 12 of the Plaintiff’s injuries and damages.
 13        WHEREFORE, Plaintiff demands judgment against Defendant for and
 14 punitive damages according to proof, together with interest, costs of suit, attorneys’
 15 fees, and all such other relief as the Court deems proper. Plaintiff reserves the right
 16 to amend the complaint to seek punitive damages if and when evidence or facts
 17 supporting such allegations are discovered.
 18                              SECOND CAUSE OF ACTION
 19                          NEGLIGENT PRODUCTS LIABILITY
 20        PLAINTIFF, FOR A SECOND CAUSE OF ACTION AGANST INSTANT
 21 BRANDS, INC., ALLEGES AS FOLLOWS:
 22        38.      Plaintiff incorporates by reference each preceding and succeeding
 23 paragraph as though set forth fully at length herein.
 24        39.      Defendant had a duty of reasonable care to design, manufacture, market,

 25 and sell non-defective pressure cookers that are reasonably safe for its intended uses
 26 by consumers, such as Plaintiff and her family.
 27        40.      Defendant failed to exercise ordinary care in the manufacture, sale,
 28 warnings, quality assurance, quality control, distribution, advertising, promotion, sale

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
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   1 and marketing of its pressure cookers in that Defendant knew or should have known
   2 that said pressure cookers created a high risk of unreasonable harm to the Plaintiff

   3 and consumers alike.
   4        41.      Defendant was negligent in the design, manufacture, advertising,
   5 warning, marketing and sale of its pressure cookers in that, among other things, it:
   6              a. Failed to use due care in designing and manufacturing the pressure
   7                 cookers to avoid the aforementioned risks to individuals;
   8              b. Placed an unsafe product into the stream of commerce;
   9              c. Aggressively over-promoted and marketed its pressure cookers through
  10                 television, social media, and other advertising outlets; and
  11              d. Were otherwise careless or negligent.
  12        42.      Despite the fact that Defendant knew or should have known that
  13 consumers were able to remove the lid while the pressure cookers were still
  14 pressurized, Defendant continued to market (and continue to do so) its pressure
  15 cookers to the general public.
  16        WHEREFORE, Plaintiff demands judgment against Defendant for and
  17 punitive damages according to proof, together with interest, costs of suit, attorneys’
  18 fees, and all such other relief as the Court deems proper. Plaintiff reserves the right
  19 to amend the complaint to seek punitive damages if and when evidence or facts
  20 supporting such allegations are discovered.
  21                               THIRD CAUSE OF ACTION
  22                          BREACH OF EXPRESS WARRANTY
  23        PLAINTIFF, FOR A THIRD CAUSE OF ACTION AGANST INSTANT
  24 BRANDS, INC., ALLEGES AS FOLLOWS:

  25        43.      Plaintiff incorporates by reference each preceding and succeeding
  26 paragraph as though set forth fully at length herein.
  27        44.      Defendant expressly warranted that its pressure cookers were safe and
  28 effective to members of the consuming public, including Plaintiff and her family.

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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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   1 Moreover, Defendant expressly warranted that the lid of the Pressure Cooker could
   2 not be removed while the unit remained pressurized. Specifically:

   3                     a. “As a safety feature, the lid is locked and won’t open until the float valve
   4                        drops down.”16
   5                     b. “Instant Pot® has a safety feature to disable the cooker and the display
   6                        will flash "Lid" if the lid is not positioned correctly.”17
   7                     c. “Once the lid is locked, and the contents are under pressure, there’s no
   8                        way to open the pressure cooker.”18
   9              45.       Members of the consuming public, including consumers such as the
  10 Plaintiff, were the intended third-party beneficiaries of the warranty.
  11              46.       Defendant marketed, promoted and sold its pressure cookers as a safe
  12 product, complete with “safety measures.”
  13              47.       Defendant’s pressure cookers do not conform to these express
  14 representations because the lid can be removed using normal force while the units
  15 remain pressurized, despite the appearance that the pressure has been released,
  16 making the pressure cookers not safe for use by consumers.
  17              48.       Defendant breached its express warranties in one or more of the following
  18 ways:
  19                     a. The pressure cookers as designed, manufactured, sold and/or supplied by
  20                        the Defendant were defectively designed and placed into the stream of
  21                        commerce by Defendant in a defective and unreasonably dangerous
  22                        condition;
  23                     b. Defendant failed to warn and/or place adequate warnings and
  24                        instructions on its pressure cookers;

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  26
  27   16   Id. at pg. 9.
       17   Id. at 10.
  28
       18   See https://www.youtube.com/watch?v=bVA2EqPf0s0 at 1:22 – 143.

                                                           11
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   1              c. Defendant failed to adequately test its pressure cookers; and
   2              d. Defendant failed to provide timely and adequate post-marketing

   3                 warnings and instructions after they knew the risk of injury from its
   4                 pressure cookers.
   5        49.      Plaintiff used the pressure cooker with the reasonable expectation that it
   6 was properly designed and manufactured, free from defects of any kind, and that it
   7 was safe for its intended, foreseeable use of cooking.
   8        50.      Plaintiff’s injuries were the direct and proximate result of Defendant’s
   9 breach of its express warranties.
  10        WHEREFORE, Plaintiff demands judgment against Defendant for and
  11 punitive damages according to proof, together with interest, costs of suit, attorneys’
  12 fees, and all such other relief as the Court deems proper. Plaintiff reserves the right
  13 to amend the complaint to seek punitive damages if and when evidence or facts
  14 supporting such allegations are discovered.
  15                              FOURTH CAUSE OF ACTION
  16          BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
  17        PLAINTIFF, FOR A FOURTH CAUSE OF ACTION AGANST INSTANT
  18 BRANDS, INC., ALLEGES AS FOLLOWS:
  19        51.      Plaintiff incorporates by reference each preceding and succeeding
  20 paragraph as though set forth fully at length herein.
  21        52.      At the time Defendant marketed, distributed and sold its pressure
  22 cookers to the Plaintiff in this case, Defendant warranted that its pressure cookers
  23 were merchantable and fit for the ordinary purposes for which they were intended.
  24        53.      Members of the consuming public, including consumers such as Plaintiff,

  25 were intended third-party beneficiaries of the warranty.
  26        54.      Plaintiff reasonably relied on Defendant’s representations that its
  27 pressure cookers were a quick, effective and safe means of cooking.
  28

                                                  12
                             COMPLAINT AND DEMAND FOR JURY TRIAL
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   1        55.    Defendant’s pressure cookers were not merchantable because they had
   2 the propensity to lead to the serious personal injuries as described herein in this

   3 Complaint.
   4        56.    Plaintiff used the pressure cooker with the reasonable expectation that it
   5 was properly designed and manufactured, free from defects of any kind, and that it
   6 was safe for its intended, foreseeable use of cooking.
   7        57.    Defendant’s breach of implied warranty of merchantability was the direct
   8 and proximate cause of Plaintiff’s injury and damages.
   9        WHEREFORE, Plaintiff demands judgment against Defendant for and
  10 punitive damages according to proof, together with interest, costs of suit, attorneys’
  11 fees, and all such other relief as the Court deems proper. Plaintiff reserves the right
  12 to amend the complaint to seek punitive damages if and when evidence or facts
  13 supporting such allegations are discovered.
  14                              FIFTH CAUSE OF ACTION
  15     BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
  16                                       PURPOSE
  17        PLAINTIFF, FOR A FIFTH CAUSE OF ACTION AGANST INSTANT
  18 BRANDS, INC., ALLEGES AS FOLLOWS:
  19        58.    Plaintiff incorporates by reference each preceding and succeeding
  20 paragraph as though set forth fully at length herein.
  21        59.    Defendant manufactured, supplied, and sold its pressure cookers with an
  22 implied warranty that they were fit for the particular purpose of cooking quickly,
  23 efficiently and safely.
  24        60.    Members of the consuming public, including consumers such as Plaintiff,

  25 were the intended third-party beneficiaries of the warranty.
  26        61.    Defendant’s pressure cookers were not fit for the particular purpose as a
  27 safe means of cooking, due to the unreasonable risks of bodily injury associated with
  28 its use.

                                                13
                           COMPLAINT AND DEMAND FOR JURY TRIAL
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   1         62.   Plaintiff reasonably relied on Defendant’s representations that its
   2 pressure cookers were a quick, effective and safe means of cooking.

   3         63.   Defendant’s breach of the implied warranty of fitness for a particular
   4 purpose was the direct and proximate cause of Plaintiff’s injuries and damages.
   5         WHEREFORE, Plaintiff demands judgment against Defendant for and
   6 punitive damages according to proof, together with interest, costs of suit, attorneys’
   7 fees, and all such other relief as the Court deems proper. Plaintiff reserves the right
   8 to amend the complaint to seek punitive damages if and when evidence or facts
   9 supporting such allegations are discovered.
  10                                INJURIES & DAMAGES
  11         64.   As a direct and proximate result of Defendant’s negligence and wrongful
  12 misconduct as described herein, Plaintiff has suffered and will continue to suffer
  13 physical and emotional injuries and damages including past, present, and future
  14 physical and emotional pain and suffering as a result of the incident on or about March
  15 12, 2020. Plaintiff is entitled to recover damages from Defendants for these injuries in
  16 an amount which shall be proven at trial.
  17         65.    As a direct and proximate result of Defendant’s negligence and wrongful
  18 misconduct, as set forth herein, Plaintiff has incurred and will continue to incur the
  19 loss of full enjoyment of life and disfigurement as a result of the incident. Plaintiff is
  20 entitled to recover damages for loss of the full enjoyment of life and disfigurement from
  21 Defendants in an amount to be proven at trial.
  22         66.   As a direct and proximate cause of Defendant’s negligence and wrongful
  23 misconduct, as set forth herein, Plaintiff has and will continue to incur expenses for
  24 medical care and treatment, as well as other expenses, as a result of the severe burns

  25 she suffered as a result of the incident. Plaintiff is entitled to recover damages from
  26 Defendants for her past, present and future medical and other expenses in an amount
  27 which shall be proven at trial.
  28

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
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   1                                 PRAYER FOR RELIEF
   2         WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

   3         A. That Plaintiff has a trial by jury on all of the claims and issues;
   4         B. That judgment be entered in favor of the Plaintiff and against Defendant on
   5            all of the aforementioned claims and issues;
   6         C. That Plaintiff recover all damages against Defendant, general damages and
   7            special damages, including economic and non-economic, to compensate the
   8            Plaintiff for her injuries and suffering sustained because of the use of the
   9            Defendants’ defective pressure cooker;
  10         D. That all costs be taxed against Defendant;
  11         E. That prejudgment interest be awarded according to proof;
  12         F. That Plaintiff be awarded attorney’s fees to the extent permissible under
  13            Federal and California law; and
  14         G. That this Court awards any other relief that it may deem equitable and just,
  15            or that may be available under the law of another forum to the extent the
  16            law of another forum is applied, including but not limited to all reliefs prayed
  17            for in this Complaint and in the foregoing Prayer for Relief.
  18
  19                                                   HARLAN LAW, P.C
  20
       Dated: March 2, 2022                            /s/ Jordon Harlan, Esq.
  21                                                   Jordon Harlan, Esq. (CA #273978).
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  25                                                   In association with:
  26
       .                                               JOHNSON BECKER, PLLC
  27
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  28                                                   (MN #016088X)

                                                  15
                           COMPLAINT AND DEMAND FOR JURY TRIAL
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                        COMPLAINT AND DEMAND FOR JURY TRIAL
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   1                             DEMAND FOR JURY TRIAL
   2        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by

   3 jury of all the claims asserted in this Complaint so triable.
   4
   5                                                  HARLAN LAW, P.C
   6 Dated: March 2, 2022                             /s/ Jordon Harlan, Esq.
   7                                                 Admitted Pro Hac Vice

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
